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                                                         August 27, 2016

 BY ECF
 Honorable Robert M. Levy
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:    Cortes v. City of New York, et al., 14 CV 3014 (SLT) (RML)

 Your Honor:

        I represent plaintiff in the above-referenced civil rights action. I write to
 respectfully request: 1) leave to continue the deposition of defendant Rzonca; 2) relief
 in connection with defendants’ loss of relevant evidence; and 3) an order compelling
 defendants to conduct a search of their electronic communications and produce any
 relevant materials. The parties have met and conferred extensively, but have been unable
 to resolve these disputes.

        As the Court may recall, Mr. Cortes alleges that, after being falsely arrested in
 Queens on July 1, 2013, he was violently assaulted by police officers inside the 115th
 Precinct, resulting in a tear of the rotator cuff in his right shoulder that has now
 necessitated multiple surgeries, including one ten days ago. Defendants deny using any
 force inside the precinct.

 Request for Leave to Continue the Deposition of Defendant Sergeant Joncris Rzonca

       Defendant Joncris Rzonca is a key fact witness regarding the disputed events. He
 was present for and “verified” plaintiff’s arrest and was one of three precinct supervisors
 on duty at the time of plaintiff’s injury.

        Approximately a year ago, when only 211 of 7,905 pages of discovery had been
 produced, plaintiff deposed defendant Rzonca in connection with plaintiff’s efforts to
 identify John Doe defendants and amend the complaint. The deposition lasted less than
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 three hours and was explicitly left open pending receipt of outstanding documents. See
 Rzonca Deposition Transcript Excerpt, annexed hereto as Exhibit 1, p. 163, ln. 19–p.
 164, ln. 2. Since that deposition a year ago, plaintiff has discovered a variety of
 documents – including, inter alia, an unexplained duplicate injury report, precinct logs,
 EMS records and subordinate officer memo books – of which defendant Rzonca is
 expected to have direct knowledge.

        In light of the fact that the first deposition was brief, limited in scope, explicitly
 kept open without objection and conducted in the absence of a number of core
 documents on which his testimony will likely bear, plaintiff respectfully requests that
 he be permitted to examine defendant Rzonca further, in a continued deposition not to
 exceed four hours.

 Request for Relief Concerning Spoliated Evidence

        By order dated April 26, 2016, defendants were ordered to provide a “verified
 response” detailing discoverable documents that could not be located despite a diligent
 search. Defendants produced the response attached hereto as Exhibit 2. In their
 response, defendants concede that the they are unable to produce: (i) the prisoner
 pedigree form, reflecting plaintiff’s physical condition upon arrival at the precinct (a
 central issue); (ii) the DAT investigation report, which would reflect the timing and
 sequence of relevant events at the precinct; (iii) the central booking medical screening
 form, reflecting the statements of plaintiff and his escort officers upon arrival at central
 booking; (v) the central booking prisoner roster, reflecting potential fact witnesses; and
 (vi) the photo of plaintiff taken at central booking. Id. Defendants offer no explanation
 for the missing documents.

         The law is clear in the Second Circuit that “spoliation” – “the destruction or
 significant alteration of evidence, or the failure to preserve property for another’s use as
 evidence in pending or reasonably foreseeable litigation” – is sanctionable conduct.
 West v. Goodyear Tire & Rubber Co., 167 F.3d 776, 779 (2d Cir. 1999). A party
 seeking sanctions for spoliation of evidence must establish three elements, namely (i) an
 obligation to preserve evidence at the time it was destroyed, (ii) a culpable state of mind,
 defined as including negligent, grossly negligent or intentional conduct, and (iii) the
 loss or destruction of potentially relevant documents that reasonably would support the
 claim or defense. See Residential Funding Corp. v. DeGeorge Fin. Corp., 306 F.3d 99,
 107 (2d Cir. 2002). Each of these elements is satisfied in the instant case.

        It is well settled that a range of mental states satisfy the “culpable state of mind”

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 required for a finding of spoliation. Although destruction of the discovery materials in
 “bad faith,” “intentionally,” or with “gross negligence” is clearly sufficient to establish
 culpability, see, e.g., Reilly v. Natwest Markets Group, 181 F.3d 253, 267 (2d Cir.
 1999), those states of mind are not necessary for sanctions to be warranted. See Byrnie
 v. Town of Cromwell, Bd. of Educ., 243 F.3d 93, 109 (2d Cir. 2001) (holding that
 “bad faith – an intent to obstruct the opposing party’s case – need not be shown to
 justify an inference of spoliation”). Indeed, the Second Circuit has expressly held that
 sanctions for spoliation “may be appropriate in some cases involving the negligent
 destruction of evidence because each party should bear the risk of its own negligence.”
 Residential Funding, 306 F.3d at 108; see also Zubulake v. UBS Warburg LLC, 229
 F.R.D. 422, 431 (S.D.N.Y. 2004) (“In this Circuit, a ‘culpable state of mind’ for
 purposes of a spoliation inference includes ordinary negligence.”).

         The defendants’ conduct in this case was negligent at the very least. With respect
 to the prisoner pedigree card, for example, the NYPD Patrol Guide specifically requires
 the desk officer to “file [it]...by date and time of arrival at command.” See Patrol Guide
 § 208-02 annexed hereto as Exhibit 3, § 7(a). Further, there appears to have been no
 litigation hold issued since this case was filed 28 months ago and defendants have not
 indicated when the pedigree card or other missing official documents were lost or
 destroyed. See Stinson v. City of New York, 10-CV-4228 (RWS), 2016 WL 54684, *6
 (S.D.N.Y. Jan. 5, 2016) (“The failure to circulate a litigation hold, and to ensure that
 it was properly implemented, was particularly damaging in the context of the NYPD's
 standing document retention policies, which ensured that inaction on the part of the
 City would result in the destruction of evidence.”).

        As the Hon. Shira A. Scheindlin has recognized, “[o]nce the duty to preserve
 attaches, any destruction of documents is, at a minimum, negligent.” Zubulake, 220
 F.R.D. at 220. Moreover, allowing sanctions based on negligence comports with the
 remedial purposes of the spoliation doctrine, as “[i]t makes little difference to the party
 victimized by the destruction of evidence whether that act was done willfully or
 negligently.” Residential Funding, 306 F.3d at 108 (quoting Turner, 142 F.R.D. at 75).
 Sanctions are imposed in such cases “not because of any finding of moral culpability,
 but because the risk that the evidence would have been detrimental rather than favorable
 should fall on the party responsible for its loss.” Id.; see also Reilly, 181 F.3d at 267-68.

        Given the relevance of the missing documents, defendants’ duty to preserve and
 the evident negligence of the conduct at issue, plaintiff respectfully requests that the
 Court issue appropriate relief.


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 Motion to Compel Defendants to Produce Relevant ESI

         In his discovery demands served in October 2014, plaintiff sought electronic
 communications sent or received by the defendants concerning plaintiff and/or the
 litigation. Defendants objected in their discovery responses, but agreed by e-mail dated
 July 22, 2016 to search for and produce relevant communications. As of this writing,
 defendants have not provided any further information regarding such communications.

        Plaintiff has reason to believe that responsive material may exist. During the
 deposition of defendant John Cestaro on August 3, 2016, it was revealed that defendant
 Cestaro had exchanged Facebook Messenger messages with another defendant, Mario
 Cappuccia, concerning the litigation. See Screenshot, annexed hereto as Exhibit 4. At
 their depositions, both defendants denied exchanging other messages. However, a
 number of other defendants had already been deposed to that point, and plaintiff
 submits that he is entitled to a proper search and formal response by each defendant.
 Thus, plaintiff respectfully requests that each of the defendants be required to conduct
 a search of their Facebook messages, text messages and e-mails and provide any
 responsive materials, along with a verified response as to the nature of the search and
 the results.

       In light of the foregoing, plaintiff respectfully requests : 1) leave to continue the
 deposition of defendant Rzonca; 2) relief in connection with defendants’ loss of relevant
 evidence; and 3) an order compelling defendants to conduct a search of their electronic
 communications and produce any relevant materials.

         Thank you for your consideration of this request.

                                                         Respectfully submitted,


                                                         Gabriel P. Harvis

 Encl.

 cc:     ACC Elissa Jacobs, Esq.




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